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March 19, 2021

VIA ECF

The Honorable Kiyo A. Matsumoto
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

        Re:     Booker v. Morgan Stanley & Co., LLC, et al.; Case No.: 20-cv-2662(KAM)(LB)

Dear Judge Matsumoto:

We represent Plaintiff Marilyn Booker in the above-referenced matter. Pursuant to Your Honor’s
March 15, 2021 Docket Text Order, we write to respectfully notify the Court that Plaintiff has no
objection to Defendants’ request for oral arguments regarding Defendants’ partial motion to
dismiss (Dkt. No. 25).

We thank Your Honor for the Court’s time and attention to this matter.

Respectfully submitted,


Jeanne M. Christensen
